Case 1:19-md-02915-AJT-JFA Document 2072 Filed 11/01/21 Page 1 of 1 PageID# 46726




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRK:T OF VIRGINIA
                                        Alexiiiidria Division


  IN RE: CAPITAL ONE CONSUMER                         )
  DATA SECURITY BREACH LITIGATION                     )         MDLNo. I:19md2915(AJT/JFA)
                                                      )

                                                  ORDER


          On October 29, 2021, plaintiffs filed a motion to compel(Docket no. 2059), a

  memorandum in support, and a notice of hearing date for Friday, November 5, 2021 at 10:00

  a.m. Having reviewed the motion and memorandum, it is hereby

          ORDERED that defendants' response to the motion shall be filed by 5:00 p.m. on

  Wednesday, November 3, any reply shall be filed by 5:00 p.m. on Friday, November 5 and the

  court will decide the motion based on the pleadings. The hearing noticed for Friday, November
                                              * %         ■"
                                              V           V,


   5,2021 is cancelled.                   ,

          Entered this 1st day of Novembe, 2021.
                                                                  Jsf.
                                                      John F. Anderson
                                                      John F. Anaerron
  Alexandria, Virginia                                United States Magistrate Judge
